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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION



UNITED STATES OF AMERICA

-vs-                                                          Case No.: 2:10-cr-136-FtM-29SPC

ROBERT STELLA
_______________________________________



                                            ORDER

       This matter comes before the Court on the Defendant Robert Stella’s Waiver of Appearance

at Arraignment and Plea of Not Guilty and Defense Counsel’s Request to Be Excused from

Appearing on Behalf of the Defendant at Arraignment (Doc. #19) filed on March 22, 2011. Defense

Counsel moves the Court for permission to waive personal appearance at the arraignment. Counsel

indicates the Defendant has received a copy of the Indictment, and affirms that he is aware of his

right to appear personally in open court, have the charges read to him and to plead not guilty.

Defendant has signed a waiver of appearance indicating his waiver is knowing and voluntary. The

Court, having considered the motion, finds good cause and will grant permission to waive personal

appearance as outlined below.

       Accordingly, it is now

       ORDERED:

       The Defendant Robert Stella’s Waiver of Appearance at Arraignment and Plea of Not Guilty

and Defense Counsel’s Request to Be Excused from Appearing on Behalf of the Defendant at

Arraignment (Doc. #19) is GRANTED. The Clerk is directed to enter a plea of Not Guilty to the
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charges contained within the Indictment. The Court will issue a Scheduling Order under separate

cover.

         DONE AND ORDERED at Fort Myers, Florida, this        23rd     day of March, 2011.




Copies: All Parties of Record




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